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                                                                  Filed in U.S. Bankruptcy
                                                                          A t la n ta. Georgia Court
                                                                     M. Regina Thomas,
       UNITED STATES BANKRUPTCY COURT OF GEORGIA                                             Clerk
                         NORTHERN DISTRICT                             JUL 16 2021



 CASSANDRA JOHNSON-LANDRY             )
 DEBTOR                                       BRC 18-55697 LRC




 SUBMISSION: AMENDED OBJECTION #2 TO CLAIM NUMBER 3 VALERI BURNOUGH
 SUITE NUMBERS FOR LEGAL COUNSEL

 CASSANDRA JOHNSON-LANDRY, DEBTOR SUBMITS EVIDENCE OF DIFFERENT SUITE
 NUMBERS FOR DECEASED CLAIMANT LEGAL COUNSEL. IT APPEARS THE SUITE NUMBER
 WAS DELIBERATE SABOTAGE IN ORDER TO JUSITY DEBTOR NOT SUBMITTING
 CERTIFICATE OF SERVICES TO CORRECT ADDRESS THEREFORE NOT PERFECTING
 SERVICE ACCORDINGLY.

 DEBTOR SUBMITTED CERTIFICATE OF SERVICE TO DECEASED LEGAL COUNSEL
 CHARLES BRIDGERS AND MICHAEL CALDWELL AT 101 MARIETTA STREET NW. SUITE
 2650, ATLANTA, GA 30303 ON July 1461, 2021.DEBTOR CROSS REFERENCED ADDRESS WITH
 ADDRESS SUBMITTED ON DOC 402 DATE 6/30/2021WHICH LISTS ADDRESS AS 101
 MARIETTA STREET SUITE 2650, ATLANTA GA 30303. IT APPEARS LEGAL COUNSEL
 MODIFIED 3100 CENTENNIAL TOWER, 101 MARIETTA STREET, ATLANTA GA 30303 TO
 101 MARIETTA STREET, SUITE 3100, ATLANTA, GA 30303(EXHIBIT A).

 IN ADDITION, IT APPEARS LEGAL COUNSEL SUBMITTED ADDITIONAL DOCUMENTS
 WHICH WERE NOT FILED AS PART OF THE ORIGINAL PROOF OF CLAIM SUBMITTED ON
 4/27/2018 AND APPEARED UPDATED PROOF OF CLAIM FORM LISTING THE ADDRESS AS
 101 MARIETTA STREET, NW SUITE 3100, ATLANTA GA 30303 (EXHIBIT B)

 DEBTOR WILL ALSO SUBMIT THIS DOCUMENT TO THE ABOVE COUNSEL AT 101
 MARIETTA STREET NW, SUITE 3100, ATLANTA, GA 30303 ON JULY 16TH ,2021.

 DEBTOR REQUEST CLAIM BE DISALLOWED. THIS MODIFICATION OF SUITE NUMBERS
 APPEARED TO HAVE BEEN INTENTIONAL. SUBMITTED PROOF OF CLAIMS MUST HAVE
 CORRECT ADDRESS OF SUBMITTING CREDITOR.

 16Th OF JULY 2021

  64SSAWDR4 POWYS071-411,1M

 CASSANDRA JOHNSON-LANDRY, PRO SE


                                                                                         1
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       UNITED STATES BANKRUPTCY COURT OF GEORGIA
                          NORTHERN DISTRICT
                       CERTIFICATE OF SERVICE

 I, CASSANDRA JOHNSON-LANDRY, DEBTOR CURRENTLY SUBMIT AMENDED
 OBJECTION #2 TO CLAIM NUMBER 3 VALERI BURNOUGH SUITE NUMBERS FOR
 LEGAL COUNSEL. DEBTOR IS OVER THE AGE OF 18 YEARS. AMENDED OBJECTION
 #2 SUBMITTED BY USPS MAIL ON 16TH OF JULY 2021.



        CHARLES R. BRIDGES
        101 MARIETTA STREET
        SUITE 3100
        ATLANTA, GA 30303


         MICHAEL A. CALDWELL
         101 MARIETTA STREET
         SUITE 3100
         ATLANTA, GA 30303

         HERBERT C. BROADFOOT II
         2964 PEACHTREE ROAD, NW.
         SUITE 555
         ATLANTA, GA 30305

         S. GREGORY HAYS
         2964 PEACHTREE ROAD, NW.
         SUITE 555
         ATLANTA, GA 30305




 16TH OF JULY 2021

  eAesslam pogritsn-zerDn
 CASSANDRA JOHNSON-LANDRY, PRO SE




                                                                                2
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                              EXHIBIT A
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                                                        Northern District of Georgia
                                                             Claims Register
                                      18-55697-1rc Cassandra Tohnson Landry Converted 09/14/2018
                                        Judge: Lisa Ritchey Craig                 Chapter: 7
                                        Office: Atlanta                           Last Date to file claims:
                                        Trustee: S. Gregory Hays                  Last Date to file (Govt): 09/30/2018
         Creditor       (21484451)                                  Claim No: 1                           Status: Allowed 195
         The Downs Homeowners Association, Inc.                     Original Filed Dale: 04/18/2018       Filed by: CR
         do Lazega & Johanson, LLC                                  Original Entered Date: 04/1812018     Entered by: Bradley W Griffin
         P.O. Box 250800                                                                                  Modified:
         Atlanta, Georgia 30325

          Amount claimed i $2911.35          00
          Secured claimed: $2911.35          00
         I=

         History:
         Farr'           i .1   04/18/2018 Claim #1 filed by The Downs Homeowners Association, Inc., Amount claimed: $2911.35 (Griffin, Bradley)
                                07/12/2016 Order DENYING Motion to Disallow Claim (Objection to Claim) No. 1 of The Downs Homeowners Association (Related Doc
                                           #15g) Service by BNC.. Entered on 7/12/2019, (law) Status: Allowed
         Description: (1-1) Proof of Claim and Backup
         Remarks:


         Creditor:     (21500842)                                   Claim No: 2                           Status:
         Bureaus Investment Group Portfolio No 15 LLC               Original Filed Date: 04/25/2018       Filed by: CR
         c/a PRA Receivables Management LLC                         Original Entered Date: 04/25/2018     Entered by: PRA Receivables Management LLC
         PO Box 41021                                                                                     Modified;
         Norfolk VA 23541

          Amount claimed: $13719.40 Fin

         History:
          alga             1    04/25/2018 Claim #2 filed by Bureaus Investment Group Portfolio No 15 LLC, Amount claimed: $13719.40 (PRA Receivables
                                           Management, LLC)

         Descnp ion:
         Remarks; (2-1) CAPITAL ONE, N.A.


         Creditor       (21457005) History                          Claim No: 3                           Status:
         Valeri Burnough                                            Original Filed Date: 04/27/2018       Filed by CR
         Delong Caldwell Bridgers                                   Original Entered Date: 04/27/2018     Entered by: Charles R, Bridgers
         Fitzpatrick & Benjamin                                                                           Modified.'
         101 Marietta St, NW, Suite 3100
         Atlanta, GA 30303

          Amount claimed; $30060.95 111100

         History:
         Details                04/27/2018 Claim #3 filed by Valeri Burnough, Amount claimed; $30060.95 (Bridgers, Charles)

         Description: (3-1) FLSA claim for unpaid overtime wages and attorneys lees
         Remarks:


         Creditor;    (21522094) History                            Claim No: 4                           Status:
         American Express National Bank                             Original Filed Date: 05/03/2018       Filed by: CR
         Becket and Lee LLP                                         Original Entered Date: 05/03/2018     Entered by: Mukherjee, Sabari - Becket & Lee LLP
         PO Box 3001                                                                                      Modified:
         Malvern, PA 19355-0701

          Amount claimed: $13312.03          00
         =
         History:
         Details     0   4-1    05/03/2018 Claim #4 filed by American Express National Bank, Amount claimed: $13312.03 (Mukherjee, Saban -Becket & Lee LLP)

         Description:
         Remarks:




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                                Northern District of Georgia
                                     Claims Register
               18-55697-1rc Cassandra Johnson Landry Converted 09/14/2018
                 Judge: Lisa Ritchey Craig                       Chapter: 7
                 Office: Atlanta                                 Last Date to file claims:
                 Trustee: S. Gregory Hays                        Last Date to file (Govt): 09/30/2018
          Creditor:      (21484451)                  Claim No: I              Status: Allowed 195
          The Downs Homeowners Association,          Original Filed           Filed by: CR
          Inc.                                       Date: 04/18/2018         Entered by: Bradley W. Griffin
          do Lazega & Johanson, LLC                  Original Entered         Modified:
          P.O. Box 250800                            Date: 04/18/2018
          Atlanta, Georgia 30325
           Amount claimed: $2911.35 I       1011
           Secured claimed: $2911.35            11
          History:
           Details 0 id      04/18/2018 Claim #1 filed by The Downs Homeowners Association, Inc, Amount claimed:
                                        $2911.35 (Griffin, Bradley)
                         =   07/12/2019 Order DENYING Motion to Disallow Claim (Objection to Claim) No. 1 of The
                                        Downs Homeowners Association (Related Doc # 12) Service by BNC.. Entered
                  —                     on 7/12/2019. (law) Status: Allowed
          Descripf on (1-1) Proof of Claim and Backup
          Remarks,'


          Creditor:     (21500842)                   Claim No: 2              Status:
          Bureaus Investment Group Portfolio No      Original Filed           Filed by: CR
          15 LLC                                     Date: 04/25/2018         Entered by: PRA Receivables
          c/o PRA Receivables Management, LLC        Original Entered         Management, LLC
          PO Box 41021                               Date: 04/25/2018         Modified:
          Norfolk VA 23541
           Amount claimed: $13719.40      lill
                   •
          History:
          Details ce 2-1 04/25/2018 Claim #2 filed by Bureaus Investment Group Portfolio No 15 LLC, Amount
                                     claimed: $13719.40 (PRA Receivables Management, LLC)
          Descrip ion:
          Remarks: (2-1) CAPITAL ONE, N.A.


          Creditor:     (21457005)    History             Claim No: 3          Status:
          Valeri Burnough                                 Original Filed       Filed by: CR
                                                      I


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          Delong Caldwell Bridgers                      Date: 04/27/2018         Entered by: Charles R. Bridgers
          Fitzpatrick & Benjamin                        Original Entered         Modified:
          101 Marietta St, NW, Suite 3100               Date: 04/27/2018
          Atlanta, GA 30303

           Amount claimed: $30060.95           DLI

          History:
          Details       3-1 04/27/2018 Claim #3 filed by Valeri Burnough, Amount claimed: $30060,95 (Bridgers,
                                       Charles)
                        394 06/22/2021 Order If Debtor files an amended objection that states a claim on or before July
                                       16, 2021, the Court will schedule such objection for hearing. (Objection to Claim)
                                       No. 3 of Valeri Burnough (Related Doc # MB Service by BNC.. Entered on
                                       6/22/2021. (law)

          Descrip on (3-1) FLSA claim for unpaid overtime wages and attorneys fees
          Remarks:


          Creditor'     (21522094) History              Claim No: 4               Status:
          American Express National Bank                Original Filed            Filed by: CR
          Becket and Lee LLP                            Date: 05/03/2018          Entered by: Mukherjee, Sabari - Becket
          PO Box 3001                                   Original Entered          & Lee LLP
          Malvern, PA 19355-0701                        Date: 05/03/2018          Modified:


           Amount claimed: $13312.03 I         1110

          History:
           Details      4-1   05/03/2018 Claim #4 flied by American Express National Bank, Amount claimed: $13312.03
                                         (Mukherjee, Saber' - Becket & Lee LLP)
          Descrip On
          Remarks:


          Creditor:      (21456999) History             Claim No: 5               Status:
          Department of the Treasury                    Original Filed            Filed by: CR
          Internal Revenue Service                      Date: 05/09/2018          Entered by Internal Revenue Service
          P.O. Box 7346                                 Original Entered          Modified:
          Philadelphia, PA 19101-7346                   Date: 05/09/2018
                                                        Last Amendment
                                                        Filed: 02/21/2019
                                                        Last Amendment

          History:
          Details       5-1   05/09/2018 Claim #5 filed by Department of the Treasury, Amount claimed: $5000.00
                                         (Internal Revenue Service)
          Details       5-2   02/21/2019 Amended Claim #5 filed by Department of the Treasury, Amount claimed: $0.00
                                         (Internal Revenue Service)
          Descriptbn:
          Remarks:



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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    IN RE:
                                          Civil Action No.
    Cassandra Johnson Landry,             18-55697-Irc

                  Debtor


         CREDITOR VALERI BURNOUGH'S RESPONSE TO DEBTOR'S
            ADDENDUM TO OBJECTION TO CLAIM NUMBER 3

          Judgment Creditor, Valeri Burnough, (hereinafter "Ms. Burnough") through

    the undersigned counsel states as follows:


       E Counsel for Judgment Creditor learned of Ms. Bumough's death on May 26,

          2021. Counsel has filed a suggestion of death on behalf of Ms. Burnough.

          [Dkt. 383]

       2. On May 27 2016, undersigned counsel filed a complaint on Ms. Burnough's

          behalf against Debtor Cassandra Johnson Landry, Alliance for Change

          Through Treatment, LLC ("ACT"), and Attachment & Bonding Center of

          Atlanta, LLC ("ABC") in the U.S. District Court for the Northern District of

          Georgia alleging violations of the Fair Labor Standards Act, 29 U.S.C. §

          201, at seq., 26 U.S.C. § 7434, and state-law claims for breach of contract,

          quantum meruit, and promissory estoppel.
                                            -1-
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      3. The Parties to said lawsuit reached a settlement agreement before U.S.

         Magistrate Judge Justin S. Anand on November 29, 2017. A true and correct

         copy of the Court's Minute Sheet evidencing the settlement agreement. [Dkt.

         384-1] The Court directed the parties to prepare and submit a formal

         settlement agreement


      4. The Judgment Creditor's Counsel submitted a settlement agreement draft to

         Debtor's then-counsel who responded that Ms. Landry refused to sign and

          intended to renege on the settlement she had agreed to at the Mediation.

       5. On February 19, 2018, Undersigned counsel filed a Motion to Enforce and

          Approve Settlement as agreed to during Mediation. [Dkt, 384-2]


       6. On March 22, 2018, U.S. District Court Judge Leigh Martin May issued an

          order granting Ms. Burnough's Motion to Enforce and Approve the

         Settlement as agreed to during Mediation. [Dkt. 384-3]

       7. On March 26, 2018, the District Court entered a Judgment against Cassandra

         Johnson Landry, Alliance for Change Through Treatment, LLC and

          Attachment & Bonding Center of Atlanta, LLC, ruling that they were jointly

         and severally liable to Ms. Bumough in the amount of $30,000. [Dkt. 384-4]




                                             -2-
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       8. Judgment Debtor Cassandra Johnson Landry ("Landry") filed this

          Bankruptcy action on April 11, 2018, approximately 2 weeks after entry of

          the aforementioned Judgment.


       9. Having been found jointly and severally liable for the Judgment, Debtor

          Cassandra Johnson Landry is personally liable for this debt which remains

          due and owed. Landry has acknowledged the existence of this Judgement for

          the three years of her bankruptcy proceedings.


       10.Contrary to Judgment Debtor's Objection, Ms. Burriough's death does not

          extinguish Landry's debt of $30,000 as determined by the U.S. District

          Court's Decision and Order entered on March 26, 2018.


       11.Judgment Creditor further seeks interest on the original Judgment dated

          March 22, 2018 at federal statutory rate of 2.06%.


       12.Upon Ms. Burnough's death her interest in the Judgment passed to her

          estate.

       13.0n June 2 2021, undersigned counsel on behalf of Creditor Valeri

          Bumough filed a Response [Dkt. 384] to Debtor's Objection to Claim

          Number 3 [Dkt. 366].



                                               -3..
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      14.0ut of an abundance of caution, undersigned counsel files this response on

         behalf   or the Estate of Creditor Valeri Bumough requesting that this Court
         overrule Debtor's Addendum to Objection to Claim Number 3. [Did. 381]


         This 30'11 day of June 2021.


                                                 DELONG CALD WELL
                                                 BRIDGERS FITZPATRICK &
                                                 BENJAMIN, LLC

                                                  s/ Charles R. Bridgers
                                                  Charles R. Bridgers
                                                  Georgia Bar No. 080791
                                                  Michael A. Caldwell
                                                  Georgia Bar No. 102775

  K101 Marietta Street                           COUNSEL FOR CREDITOR
    Suite 2650                                   Valeri Burnough
    Atlanta, Georgia 30303
    404-979-3150
    charlesbridgers(i4dcbflega1.com
    michaelcaldwell(c4dcbflegal.com
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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    IN RE:
                                            Civil Action No.
    Cassandra Johnson Landry,               18-55697-1rc

                   Debtor


                               CERTIFICATE OF SERVICE

       Undersigned Counsel certifies that on June 30, 2021, he filed CREDITOR

    VALER1 BURNOUGH'S RESPONSE TO DEBTOR'S ADDENDUM TO

    OBJECTION TO CLAIM NUMBER 3 [Dkt. 402] via the Clerk's electronic

    filing system, which will automatically effect service upon all counsel of record.

    Undersigned counsel further certifies that he served Debtor with a copy of this

    filing as follows:

                             CASSANDRA JOHNSON-LANDRY
                                     P.O. Box 1275
                                   Grayson, GA 30017

    This l day of July 2021.
                                                  DELONG CALDWELL
                                                  BRIDGERS FITZPATRICK &
                                                  BENJAMIN, LLC
                                                  s/ Charles R. Bridgers
                                                  Charles R. Bridgers
                                                  Georgia Bar No. 080791

                                                  COUNSEL FOR CREDITOR
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         Mr. Michael A. Caldwell

              Delong Caldwell Bridgers Fitzpatrick & Benjamin LLC
              2650 Centennial Tower
              101 Marietta Street NW
              Atlanta, GA 30303-2731


              Email                                      michaelcaldwell@dcbflegal.com


              Phone                                      (404) 979-3154


                                                         (404) 979-3154




         Status                                                                            Active Member in Good Standing


         Public Discipline                                                                 None on Record



https://www.gabacorg/MemberSearchDetail.cfrOID=MTAyNzc1                                                                         112
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         Law School                                                                     Catholic University-Washington




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           Mr. Charles Ronald Bridgers

                 Delong Caldwell Bridgers Fitzpatrick & Benjamin LLC
                 101 Marietta Street NW Suite 2650
                Atlanta, GA 30303-2731


                                                                                charlesbridgers@dcbflegal.com


                                                                                (404) 979-3150


                                                                                (404) 979-3170




           Status                                                                                                  Active Member in Good Standing


           Public Discipline                                                                                       None on Record


           Admit Date                                                                                              07/09/1993



https://www.gabacorg/MemberSearchDetail.cfm?1D=MDgwNzkx                                                                                                 1/2
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       Meniber of t.,he followIng sectons:                                             Appellate Practice
                                                                                       Labor & Employment Law
                                                                                       Nonprofit Law




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                                EXHIBITB
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 Fill in this information le identify the case:

  Debtor 1          Cassandra Johnson Landry

  Debtor 2
  (Spam%iffiling)

  United States Bankruptcy Court for the: Northern District of Georgia

  Case number        18-55697-Irc


Official Form 410
Proof of Claim                                                                                                                                             04/16

Read the instructions boforo filling out this form. This form is for making a claim for payment In a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is•entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim such as promissory notes, purchase orders, invoices, Itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents: they may be destroyed after scanning If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U .S.0 §§ 152, 157, and 357i.

Fill In all the information about the claim as of the date the case was filed, That date is on the notice of bankruptcy (Form 309) that you received.



Part 1:       Identify the Claim

1. Who is the current
   creditor?
                                 Valeri Burnough
                                 Name of the current creditor (the person or entity to be paid for was claim)

                                 Other names the creditor used with the debtor

2. Has this claim been
                                 46
   acquired from
   someone else?                 0 Yes      From whom?


3. Where should notices          Where should notices to the creditor be sent?                              Where should payments to the creditor be sent? (if
   and payments to the                                                                                      different)
   creditor be sent?
                                    aeLong_Celetwell..Bridgers_EitzpiatricklitElenjarn
   Federal Rule of                  Name                                                                    Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                   101 Marietta Street, NW, Suite 3100
                                 Number          Street                                                     Number          Streei
                                    Atlanta, GA 30303
                                 City                               Slate                  ZIP Code         City                       State                   ZIP Code

                                 Contact ph„ e     (404)979-3150                                            Contact phone

                                 Contact email   (404)9.79-3170                                             Contact email



                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend             No
   one already filed?            C.) Yes     Claim number on court claims registry (If known)
                                                                                                                                               Nim   00   I YYYY


5, Do you know if anyone         Ri No
   else has filed a proof        0 Yes       Who made the earlier filing?
   of claim for this claim?




   Official Form 410                                                        Proof of Claim                                                            page 1
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  Part 2:        Give Information About the Claim as of the Date the Case Was Filed
PIII         I

 6. Do you have any number         El No
    you use to Identify the        0 Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:                           _
    debtor?



 7, How much is the claim?             S                           30,060.95 , Does this amount include interest or other charges?
                                                                                  El No
                                                                                  g Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                         charges required by Bankruptcy Rule 3001(c)(2XA).


 8. What is the basis of the       Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                   Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                   Limit disclosing information that is entitled to privacy, such as health care information.

                                   FLSA unpaid minimum and overtime wages and attorneys fees

                                                                                                                                                                     —
 9. Is all or part of the claim    5/.1 No
    secured?                       0       Yes. The Claim is secured by a lien on property.
                                                 Nature of property:
                                                 0    Real estate. lithe claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                   Attachment (Official Form 410-A) with (his Proof of Claim.
                                                 0    Motor vehicle
                                                 0    Other. Describe:



                                                 Basis for perfection:
                                                 Attach redacted copies of documents, if any, that show evidence of perfection of a security Interest (for
                                                 example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                                 been filed or recorded,)



                                                 Value of property:
                                                 Amount of the claim that is secured:         $

                                                 Amount of tho claim that is unsecured: $                              (The sum of the secured and unsecured
                                                                                                                       amounts should match the amount in line 7.)



                                                 Amount necessary to cure any default Os of the date of the petition:            S



                                                 Annual Interest Rate (when case was filed)              %
                                                 El   Fixed
                                                 0    Variable



  10.Is this claim based on a      0       No
     lease?
                                   0 Yes. Amount necessary to cure any default as of the date of the petition.                   $


   11 Is this claim subject to a    0 No
      right of setoff?
                                    Li Yes. Identify the property:




                                                                                                                                                                     J
       Official Form 410                                                   Proof of Claim                                                          page 2
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                                             —
12, Is all or part of the claim    WA No
    entitled to priority under.
    11 U.S.C. § 507(a)?            0      Yea, Check one:                                                                                          Amount entitled to priority

   A claim may be partly                  O Domestic support Obligations (including alimony and child support) under
   priority and partly                      11 U.S.C. § 507(aX1)(A) or (aX1)(B).
   nonpriority. For example,
   In some categories, the                    Up to $2,850'• of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).
   entitled to priority.
                                              Wages, salaries, or commissions (up to 512,850*) earned within 180 days before the
                                              bankruptcy petition Is filed or the debtors business ends. whichever Is earlier.
                                              11 U.S.C. § 507(3)(4).
                                          O Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8),

                                          O Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

                                          U Other. Specify subsection of 11 U.S.C. §.507(á)(_j that applies.

                                          • Amounts are sublect to adjustment on 4101/19 and every.3 years after that for cases begun on or after the date of adjustment.




 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                        I am the creditor.
 FRBP 0011(b).                    Erl
                                   I am the Creditor's attorney or authorized agent.
 If you file this claim            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
                                   I am a guarantor, surety, endorsor, or other codebtor. Bankruptcy Rule 3005.
 5005(8)(2) authorizes courts
 to establish local rules
 specifying what a signature
                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 is.
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt,
 A person who files a
 fraudulent claim could be I have examined the information in this Proof Of Claim and have a reasonable belief that the information is true
 tined up to $500,000,        and correct.
 Imprisoned for up to 5
 years, or both,
                              I declare under penalty of perjury that the foregoing Is two and con•ect.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on dale 04/27/2018'
                                                   MM /CD        YYYY



                                                        r            7                       •
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                      Charles R. Bridgers
                                                            First name                           !Addle name                           Last name

                                  Title                     Attorney

                                  Company                   DeLong Caldwell Bridgers Fitzpatrick & Benjamin, LLC
                                                            Identify the corporate serdcer as the company if the authorized agent Is 0 servicer,


                                  Address                   101 Marietta Street, NW, Suite 3100
                                                            Number            Street
                                                            Atlanta, GA 30303
                                                            City                                                        State          ZIP Code

                                  Contact phone             (404)979-3150                                               Email   Charlesbridgers(adobfleoal.com




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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    IN RE:
                                            Civil Action No.
     Cassandra Johnson Landry,              18-55697-Ire

                    Debtor


           NOTICE PURSUANT TO BANKRUPTCY RULE 3001(c)(2)(A)

           On behalf of Creditor Valeri Burnough, undersigned counsel states as
     follows:
     Original 'Judgment: $30,000


     Interest on Original Judgment dated March 22, 2018 at federal statutory rate of
     2.06% through April 27, 2018: $60.95
                                                   DELONG CALDWELL
                                                   BRIDGERS FITZPATRICK &
                                                   BENJAMIN, LLC

                                                    s/ aim-les R. Bridgers
                                                    Charles R. Bridgers
                                                    Georgia Bar No. 080791
                                                    Michael A. Caldwell
                                                    Georgia Bar No. 102775

     3100 Centennial Tower                       COUNSEL FOR CREDITOR
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     Atlanta, Georgia 30303
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